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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF IDAHO
                                   NORTHERN DIVISION

ALAN PANAS,                                       )
                                                  )      Case No. 2:13-cv-00170-BLW
                Plaintiff,                        )
                                                  )
        v.                                        )      NOTICE OF VOLUNTARY
                                                  )      DISMISSAL
GENPACT SERVICES, LLC.,                           )
                                                  )
                Defendant.                        )

                             NOTICE OF VOLUNTARY DISMISSAL

        ALAN PANAS (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(A)(i) (Dismissal of Actions - Voluntary Dismissal By Plaintiff Without Court

Order) voluntarily dismisses, with prejudice, GENPACT SERVICES, LLC. (Defendant), in this

case.

                                    RESPECTFULLY SUBMITTED,


  DATED: June 21, 2013
                                    By: /s/ Robert Montgomery
                                          Robert C. Montgomery, Esquire
                                           Idaho SBN: 1793
                                           Ph: (208) 322-8865
                                           Attorney for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2013, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was electronically submitted to all parties by the Court’s CM/ECF system.




                                                             /s/ Robert Montgomery
                                                             Robert C. Montgomery, Esquire
                                                             Attorney for Plaintiff
